     Case: 1:13-cv-04121 Document #: 72 Filed: 02/10/15 Page 1 of 1 PageID #:318

                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                 Eastern Division

Dearius Johnson
                            Plaintiff,
v.                                                Case No.: 1:13−cv−04121
                                                  Honorable Virginia M. Kendall
K. Passehl, et al.
                            Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 10, 2015:


      MINUTE entry before the Honorable Virginia M. Kendall:Minute entry [71] is
amended to reflect that the case is dismissed with prejudice.Mailed notice(tsa, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
